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                        Exhibit 16
           Case
3/21/22, 12:45 PM 3:22-cv-00151-LL-MDD                   Document 9-19Jornaya
                                                                           Filed
                                                                              Visual03/21/22
                                                                                     Player                  PageID.398            Page 2
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 VISUAL PLAYBACK                                                                           LeadiD: DFCF2CBC-5CBB-ACBE-E00E-716B40A6B34C
                                                                                           LeadiD Created: Nov 29, 2020 04:23:50 GMT+0000


 Display Update 3:33

                                                                                       Phone:
                                                        3:37 / 4:28
                              x1
                                                                                         *********
      Match Data            Audit Results           FAQs
                                                                                       By continuing, I consent to receiving SMS
   MATCH DATA                                                                          text messages and phone calls with
   Enter values to see if those values match what was                                  information about free samples and other
   actually entered during the lead event.
                                                                                       offers from Getitfree.us at this number. I
    First Name                                                                         understand that texts may be generated
                                                                                       using automated technology and that my
    Last Name                                                                          consent is not required as a precondition
                                                                                       for receiving any goods or services. Reply
    Phone                                                                              HELP for help, or STOP to opt out to any
                                                                                       text message. 1 msg/day, Message and
    Email                                                                              data rates may apply. I understand these
                                                                                       calls may be generated using an autodialer
   To see if additional fields match, enter the data                                   and may contain pre-recorded messages
   values in the fields below                                                          and that consenting is not required to
                                                                                       participate in the offers promoted. You
                                                                                       agree to have the data you are submitting
                                                                                       used by our partners for lending, credit
                                                                                       decisions, andPrivacy
                                                                                                        research,Policy
                                                                                                                   per our Terms of
                                                                                       Service. We strive to send samples within 2




         Add Field

    - Match
    - No Match Found
    - Match to URL Parameter Value

       Visual Playback Data Overlay 




                                                                                                                                                     
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https://vp.leadid.com/playback/DFCF2CBC-5CBB-ACBE-E00E-716B40A6B34C?key=1606623858586                                                                1/1
                                                                                                              Exhibit 16 - Page 16
